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                               IN THE UNITED STATES BANKRUPTCY COURT

                                          FOR THE DISTRICT OF DELAWARE


In re:                                                                         Chapter 11

PROMISE HEALTHCARE GROUP, LLC,                                                 Case No. 18-12491 (CTG)
et al.1,
                                                                               (Jointly Administered)
                        Debtors.
_______________________________________


ROBERT MICHAELSON OF ADVISORY
TRUST GROUP, LLC, in his Capacity as
LIQUIDATING TRUSTEE of the PROMISE
HEALTHCARE GROUP LIQUIDATING
TRUST,

                                            Plaintiff,

                                 v.                                            Adv. Proc. No. 20-50992 (CTG)

JOHNSON CONTROLS FIRE PROTECTION,
LP,

                                            Defendant(s).



                       NOTICE OF DISMISSAL OF ACTION WITH PREJUDICE




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  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification number, are as follows:
HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Professional Rehabilitation Hospital, L.L.C. (5340), Promise Healthcare #2, Inc.
(1913), Promise Healthcare Group, LLC (1895), Promise Healthcare Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP of
Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The Villages Holdings, LLC (0006), HLP Properties at the
Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc. (0068), Promise Healthcare of California, Inc. (9179),
Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc. (8831), Promise
Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc. (0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise
Hospital of Florida at The Villages, Inc. (2171), Promise Hospital of Louisiana, Inc. (4886), Promise Hospital of Lee, Inc. (8552), Promise
Hospital of Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659), Promise
Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise
Properties of Lee, Inc. (9065), Promise Properties of Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc.
(5752), Promise Skilled Nursing Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203),
St. Alexius Hospital Corporation #1 (2766), St. Alexius Properties, LLC (4610), Success Healthcare 1, LLC (6535), Success Healthcare
2, LLC (8861), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise
Behavioral Health Hospital of Shreveport, Inc. (1823), Promise Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center at the
Villages, Inc. (7529), and PHG Technology Development and Services Company, Inc. (7766).




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        PLEASE TAKE NOTICE that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, as made applicable herein by Rule 7041 of the Federal Rules of Bankruptcy

Procedure, Robert Michaelson of Advisory Trust Group, LLC, in His Capacity as Liquidating

Trustee of the Promise Healthcare Group Liquidating Trust (the “Plaintiff”), hereby dismisses

with prejudice its Complaint against Johnson Controls Fire Protection, LP, (the “Defendant”) in

the above-captioned adversary proceeding (Adv. No. 20-50992 (CTG)).



Dated: April 4, 2022

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                                                    Counsel to the Plaintiff




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